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Dated: April 15, 2025

                                                    Respectfully submitted,

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                            CERTIFICATE OF CONFERENCE

        I certify that on April 10–11, 2025, I conferred with counsel for Logan Paul regarding
the relief requested in this Motion. Counsel for Plaintiff indicated that they are opposed to the
Motion.

                                                           /s/Caroline Newman Small
                                                           Caroline Newman Small

                               CERTIFICATE OF SERVICE

       I certify that on April 15, 2025, the foregoing document was electronically filed with
the Clerk of the Court using the CM/ECF system and all counsel of record will receive an
electronic copy via the Court’s CM/ECF system.

                                                           /s/Caroline Newman Small
                                                           Caroline Newman Small




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